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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 APPLE INC.                                      )
                Movant,                          )
                                                 )
        v.                                       )
                                                 ) Misc. Case No.
 OMNI BRIDGEWAY (USA) LLC                        ) ____________________
                                                 )
                Respondent.                      ) (MPH v. Apple Inc., Case No. 3:18-
                                                 ) cv-05935-TLT; pending in U.S.D.C.
                                                 ) N.D. Cal.)


              APPLE INC.’S MOTION TO COMPEL COMPLIANCE WITH
                     SUBPOENA TO OMNI BRIDGEWAY LLC

       Movant Apple Inc. (“Apple”) respectfully moves for an order compelling Omni Bridgeway

(USA) LLC to fully comply with Apple’s subpoena.

       This motion is based on Apple’s memorandum of law and accompanying documents filed

in support and any further evidence, files, records, and argument to be presented at or before the

hearing before the Court.

        Dated: July 3, 2024                         Respectfully submitted,

                                                    DLA PIPER LLP (US)

                                                    /s/ Brian A. Biggs
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